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1    KEVIN V. RYAN (CSBN 118321)
     United States Attorney
2
     EUMI L. CHOI (WVBN 0722)
3    Chief, Criminal Division
4    CHRISTINA HUA (CSBN 185358)
     CYNTHIA STIER (DCBN 423256)
5    Assistant United States Attorneys
        450 Golden Gate Avenue, Box 36055
6       San Francisco, California 94102-3495
        Telephone: (415) 436-7534
7       FAX: (415) 436-7234
     Attorneys for Plaintiff
8
                                  UNITED STATES DISTRICT COURT
9
                               NORTHERN DISTRICT OF CALIFORNIA
10
                                      SAN FRANCISCO DIVISION
11
12
     UNITED STATES OF AMERICA,                    )       No. CR 06-0144 JSW
13                                                )
             Plaintiff,                           )
14                                                )
        v.                                        )
15                                                )       STIPULATION AND
     RENATO MENDOZA MEDINA,                       )       [PROPOSED] ORDER REGARDING
16     a/k/a Rene Mendoza Medina,                 )       EXCLUSION OF TIME
     PHYLLIS REYES CUISON,                        )
17     a/k/a Phyllis Cundangan Reyes, and         )
     RAWLIN CUNDANGAN REYES,                      )
18                                                )
             Defendants.                          )
19                                                )
20      The defendants came before the Court for an initial status appearance on March 23, 2006.
21   The matter was set over until April 20, 2006 at 2:30 p.m. before the Court for a status hearing.
22   The parties agreed, and the Court found, that the time between March 23, 2006 and April 20,
23   2006 is properly excluded under the Speedy Trial Act, Title 18, United States Code, Sections
24   3161(h)(8)(A) and (h)(B)(ii) and (iv). The parties agreed, and the Court found that, that the case
25   was complex, due to the nature of the crime, the number of different entities, bank accounts, and
26   identities involved, and the large amount of discovery which the defense needs to review. Due to
27   the complexity of this matter, failure to grant the requested continuance would unreasonably
28   deny the defense the reasonable time necessary for effective preparation. The parties agree that
     the continuance from March 23, 2006 until April 20, 2006 is also necessary due to continuity of
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1    defense counsel, given the need for defense counsel to spend time preparing other cases during
2    this time period. The parties agree that the ends of justice served by granting the requested
3    continuance outweigh the best interest of the public and the defendants in a speedy trial.
4
5    DATED: March 28, 2006                         /s/ Christina Hua
                                                   CHRISTINA HUA
6                                                  Assistant United States Attorney
7
     DATED: March 28, 2006                         /s/ Cristina Arguedas
8                                                  CRISTINA C. ARGUEDAS
                                                   Counsel for Renato Mendoza Medina
9
10   DATED: March 28, 2006                         /s/ Lidia Stiglich
                                                   LIDIA STIGLICH
11                                                 Counsel for Rawlin Cundangan Reyes
12
     DATED: March 28, 2006                         /s/ Ann Moorman
13                                                 ANN MOORMAN
                                                   Counsel for Phyllis Reyes Cuison
14
15                                                 ORDER
16      For the foregoing reasons, and as stated on the record at the March 23, 2006 hearing in this
17   matter, the Court HEREBY ORDERS the period between March 23, 2006 and April 20, 2006
18   excluded from the speedy trial calculation under Title 18, United States Code, Sections
19   3161(h)(8)(A) and (h)(B)(ii) and (iv). The Court finds that the failure to grant the requested
20   continuance would unreasonably deny defense counsel the reasonable time necessary for
21   effective preparation, given the complexity of this case and the need for continuity of counsel.
22   The Court finds that the ends of justice served by granting the requested continuance outweigh
23   the best interest of the public and the defendant in a speedy trial and in the prompt disposition of
24   criminal cases.
25   IT IS SO ORDERED.
26   DATED: March 30, 2006                                 ____________________________
                                                           JEFFREY S. WHITE
27                                                         United States District Judge
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